   Case 1:23-cr-00088-HG Document 20
                                  19 Filed 04/27/23 Page 1 of 2 PageID #: 59
                                                                          57


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------- x
                                      ORDER OF EXCLUDABLE
United States of America,           : DELAY/SPEEDY TRIAL
                                    :
      -against-                     : 1:23-cr-00088-HG
                                    :
Chi Kwan Wong,                      :
                                    :
                     Defendant.     :
                                    :
                                    :
                                    :
----------------------------------- X


        WHEREAS, this case is scheduled for a pretrial conference on April 27, 2023; and


        WHEREAS, Defendant filed a motion with consent of the Government requesting that

the Court issue an Order adjourning the pretrial conference currently scheduled for April 27,

2023, in order to allow for additional time for defense counsel to review discovery already

provided, to permit the government time to produce additional discovery, and to have additional

resolution discussions, pursuant to 18 USC § 3161(h)(7)(A); and


        WHEREAS, the Defendant is aware of his rights under the Speedy Trial Act, and has

advised the Court that he consents to the exclusion of Speedy Trial time between the date of this

Order and any adjourn date chosen by the Court, in the interests of justice.


        Now, therefore,


        FOR GOOD CAUSE, THIS COURT FINDS that this case should be continued for the

following reasons:


        a.     Despite the exercise of diligence, the circumstances of this case require giving

defense counsel a reasonable amount of additional time for effective preparation.



6830707v.3
   Case 1:23-cr-00088-HG Document 20
                                  19 Filed 04/27/23 Page 2 of 2 PageID #: 60
                                                                          58


        b.     Both the United States and the defendant desire additional time to discuss

potential resolutions of the case, which would render a trial in this matter unnecessary.


        c.     Thus, the ends of justice served by granting the continuance and preventing any

further non-excludable days from passing under § 3161(h) outweigh the best interest of the

public and the defendant in a speedy trial.


        IT IS, therefore:


        ORDERED that this action is continued from April 27, 2023 through June 9 2023; and it

is further


        ORDERED that those days are excluded in computing time under the Speedy Trial Act of

1974; and it is further


        ORDERED, that request for an adjournment is GRANTED and the pretrial conference is

rescheduled to June 9, 2023 at 11:00am. The Court finds pursuant to 18 USC 3161(h)(7)(A) that

the ends of justice served by an exclusion of the time from speedy trial computations from

today’s date through June 9, 2023, outweigh the best interests of the public and the defendant in

a speedy trial for the reasons stated.


Dated: Brooklyn, New York
              27 2023
       April ___,

                                                ______    /s/ Hector Gonzalez
                                                 THE HONARABLE HECTOR GONZALEZ
                                              UNUNITED STATES DISTRICT JUDGE
                                              EA EASTERN DISTRICT OF NEW YORK




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6830707v.3
